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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                                    Case No. 8:03-cr-288-T-23MAP

    DESIREE M. EVANS
                                                 /


                                            ORDER

          Claudette M. Elliott filed a "Motion for Release of Property Bond" (Doc. 590).

    The conditions of the defendant's bond have been satisfied in accordance with Rule

    46(g), Federal Rules of Criminal Procedure. Accordingly, the motion is GRANTED.

    The surety is exonerated and the bond is terminated. The Clerk shall return any original

    documents related to the property bond to:

                 Claudette M. Elliott
                 7250 Cypress Drive
                 New Port Richey, FL 34653

          The parties are responsible for extinguishing any liens registered against the

    property.

          ORDERED in Tampa, Florida, on June 23, 2005.




    cc:   Counsel of Record
          Financial Section, Tampa
